     Case 1:10-cr-00026-JPJ-PMS    Document 371     Filed 04/19/12   Page 1 of 6
                                   Pageid#: 5737



                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION


UNITED STATES OF AMERICA                       )
                                               )
                                               )     Case No. 1:10CR00026-003
                                               )
v.                                             )     OPINION AND ORDER
                                               )
ANGELA ALLISON DUTY SMITH,                     )     By: James P. Jones
                                               )     United States District Judge
                Defendant.                     )


      Jennifer R. Bockhorst, Assistant United States Attorney, Abingdon, Virginia,
for United States; Joseph W. Rasnic, Jonesville, Virginia, for Defendant.


       The defendant, Angela Allison Duty Smith, has moved for a stay of

execution of her sentence of imprisonment, imposed March 23, 2012, because of

her pending appeal. Pursuant to Federal Rule of Appellate Procedure 9(a)(1), this

Opinion sets forth the court’s reasons for denying the motion.

       The Federal Rules of Criminal Procedure provide that a sentence of

imprisonment must be stayed if an appeal is taken and the defendant is released

pending disposition of the appeal. Fed. R. Crim. P. 38(b)(1). The Federal Rules of

Appellate Procedure provide that the decision regarding release must be made in

accord with the applicable provisions of the Bail Reform Act. Fed. R. App. P.

9(c). That Act provides, in pertinent part, that a defendant who has filed an appeal

must be detained unless the court finds:
    Case 1:10-cr-00026-JPJ-PMS       Document 371      Filed 04/19/12    Page 2 of 6
                                     Pageid#: 5738



      (A) by clear and convincing evidence that the person is not likely to flee
      or pose a danger to the safety of any other person or the community if
      released under section 3142(b) or (c) of this title; and

      (B) that the appeal is not for the purpose of delay and raises a substantial
      question of law or fact likely to result in --

             (i)     reversal,

             (ii)    an order for a new trial,

             (iii)   a sentence that does not include a term of imprisonment, or

             (iv) a reduced sentence to a term of imprisonment less than the total
             of the time already served plus the expected duration of the appeal
             process.

18 U.S.C.A. § 3143(b)(1) (West 2000).

      While I am able to make the requisite finding contained in subsection (A) of

§ 3141(b)(1) above, I cannot find that the appeal raises a substantial question of

law or fact, as required in subsection (B). In this context, a “substantial question”

is “‘a “close” question or one that very well could be decided the other way.’”

United States v. Steinhorn, 927 F.2d 195, 196 (4th Cir. 1991) (quoting United

States v. Giancola, 754 F.2d 898, 901 (11th Cir. 1985)). 1 Whether a question is

substantial is decided on a case-by-case basis. Id.



      1
          But see Doug Keller, Resolving a “Substantial Question”: Just Who is Entitled
to Bail Pending Appeal Under the Bail Reform Act of 1984?, 60 Fla. L. Rev. 825, 827-28
(2008) (arguing that Congress intended the more favorable “fairly debatable” standard, as
adopted by the Ninth Circuit).

                                           -2-
    Case 1:10-cr-00026-JPJ-PMS       Document 371      Filed 04/19/12    Page 3 of 6
                                     Pageid#: 5739



      The defendant was charged with participating in a conspiracy to commit

wire fraud, as well as numerous substantive counts of wire fraud, money

laundering, and commodities fraud, all in connection with a Ponzi scheme master-

minded by her husband, Ronald Wade Smith, Jr. Ronald Smith pleaded guilty to

the charges and was sentenced to 135 months imprisonment. Angela Smith and a

coconspirator, Terrance Keith Cunningham, pleaded not guilty and were convicted

by the jury after a nine-day trial.      Cunningham was sentenced to 84 months

imprisonment and Angela Smith to 36 months imprisonment. 2                  All of the

defendants have noted appeals.

      Angela Smith testified at trial and denied any knowledge of the Ponzi

scheme, professing that she had believed that her husband, who ran it out of their

home, was simply very successful in investing in foreign currency, although he had

no prior experience in that business. In fact, as all defendants now agree, the

investment business was a sham and as with any Ponzi scheme, investors’ money

was simply stolen and portions paid back to earlier investors in order to further

dupe them.




      2
          Angela Smith’s imprisonment range under the advisory Sentencing Guidelines
was 97 to 121 months. That range was determined primarily by the amount of money
stolen from investors in the Ponzi scheme. However, she received a below-guideline
sentence based upon her relative level of culpability, absence of prior criminal conduct,
and family responsibilities.
                                           -3-
   Case 1:10-cr-00026-JPJ-PMS      Document 371      Filed 04/19/12   Page 4 of 6
                                   Pageid#: 5740



      The defendant indicates in her motion for bond that the primary question on

her appeal will be the sufficiency of the government’s evidence. Thus, the issue

will be whether the determination of her guilt by the jury was supported by

substantial evidence. “[S]ubstantial evidence is evidence that a reasonable finder of

fact could accept as adequate and sufficient to support a conclusion of a

defendant’s guilt beyond a reasonable doubt.” United States v. Hickman, 626 F.3d

756, 763 (4th Cir. 2010) (internal quotation marks and citation omitted), cert.

denied, 132 S. Ct. 469 (2011). Because the credibility of witnesses is properly

assessed by the jury rather than by the court, the court of appeals will assume that

the jury resolved all testimonial contradictions in the government’s favor. United

States v. Penniegraft, 641 F.3d 566, 572 (4th Cir.), cert. denied, 132 S. Ct. 564

(2011).   Thus, “[a] defendant bringing a sufficiency challenge bears a heavy

burden,” and ‘[r]eversal for insufficient evidence is reserved for the rare case

where the prosecution’s failure is clear.” United States v. Ashley, 606 F.3d 135,

138 (4th Cir.) (internal quotation marks and citations omitted), cert. denied, 131 S.

Ct. 428 (2010).

       A conspiracy may be proved “inferentially and by circumstantial evidence.”

Hickman, 626 F.3d at 763 (internal quotation marks and citation omitted). Because

criminal conspiracies are “clandestine and covert,” there is “frequently . . . little

direct evidence of such an agreement.” United States v. Burgos, 94 F.3d 849, 857


                                         -4-
    Case 1:10-cr-00026-JPJ-PMS       Document 371       Filed 04/19/12    Page 5 of 6
                                     Pageid#: 5741



(4th Cir. 1996) (en banc). Agreement to the conspiracy may be shown by a concert

of action and knowledge may be inferred from the surrounding circumstances.

United States v. Lechuqa, 888 F.2d 1472, 1476-77 (5th Cir. 1989).

      While Angela Smith denied participation in the conspiracy, there was

certainly contrary evidence, particularly including testimony from some of the

victims that she promoted the scheme to them and helped persuade them to invest.

The fact that she knew of the sudden wealth produced by the investment fraud and

used some of it for her own benefit, along with her close proximity to the scheme’s

operation, including signing checks sent to purported investors, was also

circumstantial evidence that the jury could consider in determining her guilt.3

      For all of these reasons, I do not find that there is a substantial question on

appeal that would allow me to stay the defendant’s sentence. Accordingly, it is

ORDERED that the Motion to Remain on Bond Pending Appeal (ECF No. 360) is

DENIED. 4




      3
          Angela Smith’s credibility before the jury was likely damaged by evidence that
at the same time as she was spending large amounts of money on her home and personal
beauty treatments, she enrolled her children in Medicaid, professing that the family had
no income.
      4
           By separate order, I will defer the defendant’s prison reporting date for a
limited period of time, so that she may be available as a possible witness in a forfeiture
proceeding ancillary to her case.
                                           -5-
Case 1:10-cr-00026-JPJ-PMS   Document 371      Filed 04/19/12   Page 6 of 6
                             Pageid#: 5742




                                        ENTER: April 19, 2012

                                        /s/ James P. Jones
                                        United States District Judge




                                  -6-
